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                             UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,                         )
                       Plaintiff(s),              )
                                                  )   Case No. CR-21-358-RAW
                      v.                          )
                                                  )   Date:       9/25/2023
SILVIA VERONICA FUENTES,                          )
                                                  )   Time:      10:13 AM – 10:46 AM
                                 Defendant(s).    )              11:00 AM – 12:00 PM
                                                  )              1:13 PM – 2:36 PM
                                                  )              3:01 PM – 4:34 PM
                                                  )


                                       MINUTE SHEET
                                      MOTION HEARING

Jason A. Robertson,        J. Church, A. Winkle        J. Smith Court Reporter       K. Anderson
Judge                      Deputy Clerk                                              A. Netherland, Law Clerks




Plaintiff’s Counsel: ___Terry McEwen (AUSA)______
Defendant’s Counsel: _Juan Guerrera Jr. - Sydney Thaxter (Retained Attorney)

                                                  MINUTES


 10:13 am    Court calls case; comes on for Suppression hearing. Court discusses matter of Entry of

             Appearance for trial – Oral motion on Pro Hac Vice – Granted (JAR). Oral Motion for

             Interlineation to correct account number re: April 28th, 2021 warrant – need to be corrected

             To 66595 on pg 5 & 6. Granted (JAR). Government’s Exhibits Admitted Objection – 3, 4, 5, 8, 9

             10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21. Government moves to Admit Exhibits over

             Defense Objections – 1, 2, 6, 7 – Admitted over Objection.
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           Defendants Exhibits admitted without Objection – A1, A2, A3, A4, B, C, D – Defense moves

           to admit Exhibits over Governments Objection – A5, A6 – Admitted over Objection.

10:46 am   Parties argue discovery matters; Recess

10:59 am   Reconvene – Defense calls first witness – Spencer McInvaille

12:10 pm   Lunch

1:13 pm    Reconvene; Cross-exam witness by AUSA – Redirect by Defense; witness excused.

           Defense moves to admit exhibits E & F – Admitted without Objection.

           Government calls first witness – Dustin Thornton

2:36 pm    Recess



3:01 pm    Reconvene – Cross-Examine of witness – Redirect by Gov’t – Witness Excused

           Gov’t calls second witness - Jeremy D’Errico; Government moves to admit Exhibits 22 & 23

           to be Admitted – No Objection.

4:34 pm    Adjourn – Reconvene 09/26/2023




                                            2
